\.'

Case 1:99-cV-01267-.]DB-tmp Document 87 Filed 04/22/05 Page 1 of 4 Page|D 88

t':i‘,z "’ :`\ .Mi“,
UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE fig APR 22 PH iii 2 !
EASTERN DIVISION AT JACKSON

ill¢t:-§\.'r"\!' i;i', Di 'i"i;i@i,i'="_§'
CL"»::.”‘.§'”§$ U.S. DiS'l'. C§.

 

TGDD ERTL’ ) w.t). es TN. assume
Plaintiff §
v. § Case No. 99-1267 Bre/P
CORRECTIONS CORPORATION OF §
AMERICA, et al., )
Defendants §
ORDER

 

Before the Court is a Joint Motion to Extend Motion to Compel Deadline. The parties
are in agreement that due to the scheduled Mediation in this matter, additional time Would be
useful to attempt to resolve certain issues that have arisen as to Defendants’ written discovery,
and, therefore, the Court finds that the Motion is well taken. Therefore, it is ORDERED that the

deadline to file a Motion to Compel is extended up to and including June 10, 2005 .

M

JUDGE
DATED; ’~f `/9~9. {°_>'_'

IT IS SO ORDERED.

mmwmw@m
10 1320 's'n to its 0
mwwm owaanM

. ni
Wlth RU,'@ c; entered on the d

`Ba‘“* »'O’_?S (a)FHCP ogkwe ha :9 Hd 92 adv go
C|§l/\|§l@§itl

@

Case 1:99-cV-01267-.]DB-tmp Document 87 Filed 04/22/05 Page 2 of 4 Page|D 89

APPROVED FOR ENTRY:

L<g/{Cl/lldtlll C<;£ haw

'JAMES 1. PENTECOST

BRANDON O. GIBSON

PENTECOST, GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson, Tennessee 38305

ROBERT J. WALKER

MARK TIPPS

JOSEPH WELBORN

WALKER, BRYANT, TIPPS & MALONE
2300 One Nashville Place

150 Fourth Avenue North

Nashville, TN 37219-2424

COUNSEL FOR DEFENDANTS

110er Lic}ui cO/M/M -
WAYNE A. RITCHIE, 11
ROBERT W. RITCHIE
RITCHIE, FELS & DILLARD
P.O. Box 1126

Knoxville, Tennessee 37901-1126

 

W. GASTON FAIREY

W. GASTON FAIREY, LLC
1722 Main Street, Suite 300
Columbia, South Carolina 29201

COUNSEL FOR PLAINTIFF

CERTIFICATE OF SERVICE

l certify that a copy of the foregoing has been served by U.S. mail upon Wayne A.
Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126, Knoxville, TN
37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300, Columbia, SC 29201 on

April 14, 2005.

PENTECOST, GLENN & RUDD, PLLC

j ames I. Pentecost (#01 1640)
Brandon 0. Gibson (#21485)
Attorneys for Defendants

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 87 in
case 1:99-CV-01267 Was distributed by faX, mail, or direct printing on
April 28, 2005 to the parties listed.

 

 

K. Michelle Booth

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

.lacl<son7 TN 38305

Brandon O. Gibson

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

.lacl<son7 TN 38305

.l ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

.lacl<son7 TN 38305

Robert W. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901

Wayne A. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

KnoX\/ille7 TN 37901--112

.l. Mark Tipps

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

Robert .l. Walker

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

Case 1:99-cV-01267-.]DB-tmp Document 87 Filed 04/22/05 Page 4 of 4 Page|D 91

.loseph F. Welborn

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

Honorable .l. Breen
US DISTRICT COURT

